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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


   IN RE: NATIONAL PRESCRIPTION
         OPIATE LITIGATION

           This document relates to:
                                                                MDL No. 2804
 The County of Summit, Ohio, et al. v. Purdue                Case No. 1:17-md-2804
             Pharma L.P., et al.                             Hon. Dan Aaron Polster
           Case No. 18-op-45090

   The County of Cuyahoga, et al. v. Purdue
             Pharma L.P., et al.
           Case No. 17-op-45004


                  AMERISOURCEBERGEN DRUG CORPORATION’S
                 RESPONSE TO PLAINTIFFS’ WITNESS OBJECTIONS

       AmerisourceBergen Drug Corporation (“ABDC”) submits the following responses to

Plaintiffs’ objections to witnesses identified on ABDC’s October 5, 2019 witness list:

       1. Plaintiffs’ Objections to Caroline Conneely are Unfounded.

       Plaintiffs object to ABDC’s inclusion of Caroline Conneely, an employee at FTI

Consulting, on its witness list, alleging that ABDC did not timely disclose Ms. Connelly as

someone with discoverable information and that ABDC “objected to her deposition” during

discovery. See Dkt 2749 at 7. Plaintiffs’ description of ABDC’s objections are misleading.

ABDC originally identified Ms. Conneely well over a year ago, on May 29, 2018, by disclosing

that Ms. Conneely’s employer, FTI Consulting, was an entity that has assisted in ABDC’s

diversion control efforts. See ABDC’s Responses and Objections to Plaintiffs’ First Set of

Interrogatories, Response to Interrogatory No. 11. Furthermore, Ms. Conneely’s name and her

involvement with ABDC were specifically and repeatedly discussed at the deposition of David

May on August 3, 2018. Indeed, after that deposition, on August 22, 2018, Plaintiffs’ counsel
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requested (and ABDC agreed) to add “Caroline Conneely” and “Caroline w/5 Conneely” to

ABDC’s agreed upon search terms.

        Despite knowing about Ms. Conneely’s involvement with ABDC, Plaintiffs waited until

January 22, 2019—3 days before the close of fact discovery—to issue a subpoena to FTI.1 ABDC

objected based on timeliness, as Plaintiffs either mistakenly forgot about FTI and Ms. Conneely

for eight months where they could have easily issued this subpoena, or they intentionally waited

until the eve of discovery to serve a subpoena with unreasonable response times.2 Plaintiffs then

voluntarily withdrew that subpoena with little discussion. And even after that, Plaintiffs were

allowed to re-serve a document subpoena on FTI after the close of discovery, and have received

thousands of documents where Ms. Conneely is either listed on the to, from, or cc lines of emails.

Nevertheless, and despite Plaintiffs’ longstanding knowledge of FTI Consulting and Ms.

Conneely, and their failure to timely pursue discovery, ABDC is amenable to making Ms.

Conneely available for a limited deposition prior to her live testimony at trial.

        2. Plaintiffs’ Objections to Peter Cassady are Unfounded.

        Plaintiffs object to Peter Cassady, a warehouse manager at ABDC’s Lockbourne, Ohio

distribution center, testifying at trial because he was not disclosed during the discovery period as

an individual with discoverable knowledge. See Dkt 2749 at 2. As ABDC has relayed to Plaintiffs,

Mr. Cassady would testify about general operations at the Lockbourne distribution center and how

the distribution center operates as a whole. Mr. Cassady is not involved with the diversion control



1
  Plaintiffs claim that they issued the subpoena on January 17, 2019, but it’s clear from the completed
service of process that the subpoena was not actually served until January 22, 2019. See Exhibit A
(Subpoena to FTI Consulting, Inc. served January 22, 2019).
2
  Indeed, the subpoena—issued on January 22, 2019—unreasonably requested a complete production of
responsive documents plus a deposition just three days later on January 25, 2019. See Exhibit A.



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team. Nonetheless, ABDC is amenable to making Mr. Cassady available for a limited deposition

prior to his live testimony at trial.

        For the foregoing reasons, ABDC respectfully requests that Plaintiffs’ objections to

ABDC’s witness list be overruled in their entirety.



Dated: October 11, 2019                               Respectfully Submitted,

                                                      /s/ Robert A. Nicholas
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                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on October 11, 2019 via

electronic transfer to all counsel of record, consistent with the Court’s order.



                                                      /s/ Robert A. Nicholas
                                                      Robert A. Nicholas




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